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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF
                                      OKLAHOMA

    (1) IRA LEE WILKINS,                     )
                                             )
                                             )
    On behalf of themselves and all others   )
    similarly situated,                      )
                                             )
                    Plaintiffs,              )
                                             )
    v.                                       )
                                             )
                                             )          Case No. 17-cv-00606-CVE-JFJ
       (1) ABERDEEN ENTERPRIZES II, INC.,)
           AN OKLAHOMA CORPORATION )                    (Complaint –Class Action)
                                             )
                                             )          JURY DEMAND
    And                                      )
                                             )
       (2) THE OKLAHOMA                      )
           SHERIFFS’ ASSOCIATION,            )
           AN OKLAHOMA NOT FOR               )
           PROFIT CORPORATION                )
                                             )
   And                                       )
                                             )
           PARTICIPATING COUNTY              )
           SHERIFFS OF OKLAHOMA:             )
                                             )
       (3) JASON RITCHIE, SHERIFF OF         )
           ADAIR COUNTY, HIS OFFICIAL        )
           AND INDIVIDUAL CAPACITY           )
                                             )
       (4) RICK WALLACE, SHERIFF OF          )
           ALFALFA COUNTY, HIS OFFICIAL )
           AND INDIVIDUAL CAPACITY           )
                                             )
       (5) TONY HEAD, SHERIFF OF             )
           ATOKA COUNTY, HIS OFFICIAL        )
           AND INDIVIDUAL CAPACITY           )
                                             )
       (6) RUBEN PARKER, SHERIFF OF          )
           BEAVER COUNTY, HIS OFFICIAL       )
           AND INDIVIDUAL CAPACITY         )

                                                                                    1
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                                       )
      (7) DEREK MANNING, SHERIFF OF    )
      BECKHAM COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (8) TONY ALMAGUER, SHERIFF OF    )
      BLAINE COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (9) JOHNNY CHRISTIAN, SHERIFF OF )
      BRYAN COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (10)LENNIS MILLER, SHERIFF OF    )
      CADDO COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (11)CHRIS WEST, SHERIFF OF       )
      CANADIAN COUNTY, HIS OFFICIAL    )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (12)CHRIS BRYANT, SHERIFF OF     )
      CARTER COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (13)NORMAN FISHER, SHERIFF OF )
      CHEROKEE COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (14)TERRY PARK, SHERIFF OF       )
      CHOCTAW COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (15) LEON APPLE, SHERIFF OF      )
      CIMARRON COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (16) JOE LESTER, SHERIFF OF      )
      CLEVELAND COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (17) BRYAN JUMP, SHERIFF OF      )
      COAL COUNTY, HIS OFFICIAL        )
      AND INDIVIDUAL CAPACITY          )

      (18) KENNY STRADLEY, SHERIFF OF )

                                                                              2
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      COMANCHE COUNTY, HIS OFFICIAL   )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (19) KENT SIMPSON, SHERIFF OF   )
      COTTON COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (20) HEATH WINFREY, SHERIFF OF )
      CRAIG COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (21) BRET BOWLING, SHERIFF OF   )
      CREEK COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (22) KENNETH TIDWELL, SHERIFF OF)
      CUSTER COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (23) HARLAN MOORE, SHERIFF OF )
      DELAWARE COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (24) CLAY SANDER, SHERIFF OF    )
      DEWEY COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (25) SHANE BOOTH, SHERIFF OF    )
      ELLIS COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (26)JERRY NILES, SHERIFF OF     )
      GARFIELD COUNTY, HIS OFFICIAL   )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (27) LARRY RHODES, SHERIFF OF   )
      GARVIN COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (28) JIM WEIR, SHERIFF OF       )
      GRADY COUNTY, HIS OFFICIAL      )
      AND INDVIDUAL CAPACITY          )
                                      )
      (29) SCOTT STERLING, SHERIFF OF )
      GRANT COUTNY, HIS OFFICIAL      )
      AND INDVIDUAL CAPACITY          )

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                                        )
      (30) DEVIN HUCKABAY, SHERIFF OF   )
      GREER COUNTY, HIS OFFICIAL        )
      AND INDIVIDUAL CAPACITY           )
                                        )
      (31) JOE JOHNSON, SHERIFF OF      )
      HARMON COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY           )
                                        )
      (32) TRA SNIDER, SHERIFF OF       )
      HARPER COUNTY, HIS OFFICIAL       )
      AND INDVIDUAL CAPACITY            )
                                        )
      (33) TIM TURNER, SHERIFF OF       )
      HASKELL COUNTY, HIS OFFICIAL      )
      AND INDIVDUAL CAPACITY            )
                                        )
      (34) MARCIA MAXWELL, SHERIFF OF   )
      HUGHES COUNTY, HER OFFICIAL       )
      AND INDIVIDUAL CAPACITY           )
                                        )
      (35) ROGER LEVICK, SHERIFF OF     )
      JACKSON COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY           )
                                        )
      (36) JEREMIE WILSON, SHERIFF OF   )
      JEFFERSON COUNTY, HIS OFFICIAL    )
      AND INDIVIDUAL CAPACITY           )
                                        )
      (37) JON SMITH, SHERIFF OF        )
      JOHNSTON COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY           )
                                        )
      (38) STEVE KELLEY, SHERIFF OF     )
      KAY COUNTY, HIS OFFICIAL          )
      AND INDIVIDUAL CAPACITY           )
                                        )
      (39) DENNIS BANTHER, SHERIFF OF   )
      KINGFISHER COUNTY, HIS OFFICIAL   )
      AND INDIVDIUAL CAPACITY           )
                                        )
      (40) JEFF SMITH, SHERIFF OF       )
      KIOWA COUNTY, HIS OFFICIAL        )
      AND INDIVIDUAL CAPACITY           )

      (41) JESSE JAMES, SHERIFF OF      )

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      LATIMER COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (42) ROB SEALE, SHERIFF OF       )
      LeFLORE COUNTY, HIS OFFICIAL     )
      AND INDIVDUAL CAPACITY           )
                                       )
      (43) CHARLES DOUGHERTY, SHERIFF )
       OF LINCOLN COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (44) DAMON DEVEREAUX, SHERIFF )
       OF LOGAN COUNTY, HIS OFFICIAL   )
      AND INDIVDUAL CAPACITY           )
                                       )
      (45) MARTY GRISHAM, SHERIFF OF )
      LOVE COUNTY, HIS OFFICIAL        )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (46) STEVE RANDOLPH, SHERIFF OF )
      MAJOR COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (47) DANNY CRYER, SHERIFF OF     )
      MARSHALL COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (48) MIKE REED, SHERIFF OF       )
      MAYES COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (49) DON HEWETT, SHERIFF OF      )
      McCLAIN COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (50) KEVIN CLARDY, SHERIFF OF    )
      McCURTAIN COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (51) KEVIN LEDBETTER, SHERIFF OF )
      MCINTOSH COUNTY, HIS OFFICIAL    )
      AND INDIVDUAL CAPACITY           )
                                       )
      (52) DARRIN RODGERS, SHERIFF OF )
      MURRAY COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY          )

                                                                              5
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                                      )
      (53) ROB FRAZIER, SHERIFF OF    )
      MUSKOGEE COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (54) CHARLES HANGER, SHERIFF OF )
      NOBLE COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (55) SANDY HADLEY, SHERIFF OF   )
      NOWATA COUNTY, HER OFFICIAL     )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (56) STEVEN WORLEY, SHERIFF OF )
      OKFUSKEE COUNTY, HIS OFFICIAL   )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (57) P.D. TAYLOR, SHERIFF OF    )
      OKLAHOMA COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (58) EDDY RICE, SHERIFF OF      )
      OKMULGEE COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (59) EDDIE VIRDEN, SHERIFF OF   )
      OSAGE COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (60) JEREMY FLOYD, SHERIFF OF   )
      OTTAWA COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (61) MIKE WATERS, SHERIFF OF    )
      PAWNEE COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (62) R.B. HAUF, SHERIFF OF      )
      PAYNE COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY         )
                                      )
      (63) CHRIS MORRIS, SHERIFF OF   )
      PITTSBURG COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY         )

      (64) JOHN CHRISTIAN, SHERIFF OF   )

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      PONTOTOC COUNTY, HIS OFFICIAL    )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (65) MIKE BOOTH, SHERIFF OF      )
      POTTAWATOMIE COUNTY, HIS         )
      OFFICIAL AND INDIVIDUAL CAPACITY)
                                       )
      (66) B.J. HEDGECOCK, SHERIFF OF  )
      PUSHMATAHA COUNTY, HIS OFFICIAL)
      AND INDIVIDUAL CAPACITY          )
                                       )
      (67) DARREN ATHA, SHERIFF OF     )
      ROGER MILLS COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (68) SCOTT WALTON, SHERIFF OF    )
      ROGERS COUNTY, HIS OFFICIAL      )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (69) SHANNON SMITH, SHERIFF OF )
      SEMINOLE COUNTY, HIS OFFICIAL    )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (70) LARRY LANE, SHERIFF OF      )
      SEQUOYAH COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (71) WAYNE McKINNEY, SHERIFF OF )
      STEPHENS COUNTY, HIS OFFICIAL    )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (72) MATT BOLEY, SHERIFF OF      )
      TEXAS COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (73) BOBBY WHITTINGTON, SHERIFF )
      OF TILLMAN COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (74) VIC REGALADO, SHERIFF OF    )
      TULSA COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (75) CHRIS ELLIOT, SHERIFF OF    )
      WAGONER COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY          )

                                                                              7
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                                       )
      (76) RICK SILVER, SHERIFF OF     )
      WASHINGTON COUNTY, HIS OFFICIAL)
      AND INDIVIDUAL CAPACITY          )
                                       )
      (77) ROGER REEVE, SHERIFF OF     )
      WASHITA COUNTY, HIS OFFICIAL     )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (78) RUDY BRIGGS, JR, SHERIFF OF )
      WOODS COUNTY, HIS OFFICIAL       )
      AND INDIVIDUAL CAPACITY          )
                                       )
      (79) KEVIN MITCHELL, SHERIFF OF )
      WOODWARD COUNTY, HIS OFFICIAL )
      AND INDIVIDUAL CAPACITY          )
                                       )
                                       )
          Defendants                   )



                                         Class Action Complaint

                                               Introduction

           This lawsuit is about constitutional violations and corruption i n t h e collections of

    fines and costs, imposed on indigent defendants in criminal cases, by Aberdeen Enterprizes

    (sic) II (hereafter known as “Aberdeen”) through a contract with The Oklahoma Sheriffs’

    Association (hereafter known as “Sheriffs’ Association”) as the administrative agent of

    certain, participating County Sheriffs of Oklahoma, listed above. The Plaintiffs in this case

    are all people living in poverty, found to be indigent by the Courts of Oklahoma Counties,

    who were assigned a Public Defender or counsel through the Oklahoma Indigent Defense

    System at the time of sentencing, who were later issued warrants and/or incarcerated for

    failure to pay criminal court fines and costs. These plaintiffs are victims of an extortion

    scheme in which the Defendants have conspired to extract as much money as possible

                                                                                                 8
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       from indigent people through a pattern of illegal and unconscionable behavior.

               The crux of this scheme is a conspiracy by a private company, Aberdeen, to collect

       the court debts in criminal cases b y extorting1 money from these impoverished

       individuals, through a cycle of intimidation, warrants and incarceration. This scheme is

       carried out with the aid of the Sheriffs’ Association, which contracts with Aberdeen for this

       egregious practice, and who has received millions of dollars in kickbacks from funds

       collected.

               These plaintiffs have no ability to pay court costs. When they fall behind on payments,

       the amount they owe is increased, without notice, by 30% and sent to Aberdeen, who collects

       the 30% for itself and the Sheriffs’ Association. Aberdeen acts as a debt collector for the

       Sheriffs’ Association and the Counties.             Aberdeen’s intimidation, through repeated and

       continuous threats to arrest and imprison i n d i g e n t a n d o f t e n d i s a b l e d individuals, is

       enforced by the Counties, who also assess and collect its own additional and substantial fees

       and surcharges. Counties have ceded the proper authority of the judges to Aberdeen because it

       is Aberdeen who requests that warrants be issued and recalled, with no hearing to determine

       ability to pay, as required by law.

               As a result of this extortion enterprise, the Plaintiffs and tens of thousands of others

       similarly situated2 have lost housing, lost jobs, lost cars, undergone humiliating physical

       intrusions on their bodies in jails, suffered medical injuries, sacrificed food and clothing for

       their vulnerable children, and/or diverted their low-income physical and mental disability

       checks—all in order to pay a private company “fines, costs, and fees” incurred in criminal

   1
     Extortion is defined as “the obtaining of property from another with his consent, induced by a wrongful use of
   force or fear, or under color of official right.” 21 Oklahoma Statute §1481
   2
     It is estimated that approximately 75% of all indigent defendants sentenced by the court receive a Failure to Pay
   warrant issued. In Tulsa County alone, 80% of all felonies are filed are filed against indigent people.

                                                                                                                         9
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       court which have already declared them to be indigent. They have languished year after year

       on recurring terms of debt collection under constant threats to their physical and emotional

       well-being, and they have been repeatedly jailed because of their poverty.                  This cycle of

       ever-increasing debts, threats, and imprisonment has left the Plaintiffs and thousands of

       people like them in Cities and Counties across Oklahoma trapped in a culture of fear and

       panic.3

             This civil rights action is brought under the Racketeer Influenced and Corrupt

   Organizations Act (“RICO”), the United States Constitution pursuant to 42 U.S.C. § 1983, and

   Oklahoma law to stop the Defendants from continuing to operate a racketeering enterprise that is

   extorting money from some of the most impoverished people in Oklahoma Counties under

   constant threat of jail and to prevent the Defendants from misusing the fines and costs imposed

   on the poor as a process for profit.

             The treatment of Ira Lee Wilkins and each of the other Plaintiff class members, reveals

   systemic illegality perpetrated as a matter of ongoing design, policy, and practice by Aberdeen

   Enterprises and their conspirators, the Sherffs’ Associaton, in each of the named Sheriffs of the

   counties in Oklahoma. By and through their attorneys and on behalf of themselves and all others

   similarly situated, the Plaintiffs seek in this civil rights action the vindication of their

   fundamental rights, compensation for the violations that they suffered, punitive damages to

   punish the Defendants and to deter similar misconduct in the future, and injunctive relief

   assuring that their rights will not be violated again. Debtors prisons have no place in our society.

   3
     “[T]he percentage of families living in poverty in Oklahoma increased in 2016, even as the national poverty rate
   declined to its lowest point since 2008. In 2016, almost one out of six Oklahomans (16.3 percent) were making less
   than the poverty line ($24,230 a year for a family of four) before taxes. About 9,500 more Oklahomans had incomes
   below the poverty line in 2016 than in 2015. Oklahoma’s poverty rate increased even as the poverty rate for the
   United States as a whole fell to 14.0 percent. These national improvements widened the gap between Oklahoma and
   the U.S. as a whole. Oklahoma’s poverty rate in 2016 was 9th highest out of all 50 states.” Perry, Gene. “New
   Census Data shows Oklahoma fell further behind the U.S. on poverty and uninsured rate in 2016,” Healthcare,
   Poverty & Opportunity, Oklahoma Policy Institute, September 14, 2017.

                                                                                                                  10
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                                                    Nature of the Action4

             1.     Aberdeen Enterprizes II and The Oklahoma Sheriffs Association entered into a

   contractual agreement, see Exhibit 1 (“The Agreement”), to hand control of the collection of

   court fines and costs from the County Courts Cost Administrator to the private, for-profit

   company. Pursuant to the specific terms of the Agreement, Aberdeen must earn its profit solely

   and directly from the people that it collects from, by operating a “user funded” model in which

   plaintiffs are ordered to pay, under threat of arrest and revocation of their probation, a variety

   of fees and surcharges to Aberdeen, as well as their court costs. According to the

   agreement, the Sherriff’s Association will pay Aberdeen nothing, and Aberdeen will make no

   profit unless it is able to get money from the indigent people from whom it extorts.5

             2.     This agreement creates an unethical and illegal alliance: a supposedly neutral

   collections agency who a) has a direct financial stake in every decision and outcome in any

   indigent individual’s criminal case, and b) can request for warrants to be issued and recalled

   without being held accountable for an individual’s ability to pay, hardship incurred, or suffering

   caused by limited resources going to Aberdeen rather than to the family of those affected by this

   abuse. This specific contractual arrangement violates the basic notions of due process, neutrality,

   and fairness as those concepts have been understood throughout American legal history.

              3.      When defendants fail to pay, the case is sent to Aberdeen, and the amount the

       impoverished person owes is increased by 30%.

              4.      At sentencing, plaintiffs are not given notice about this 30% increase in fines

       and costs that might be owed if they cannot pay.


   4
     Plaintiffs make the allegations in this Complaint based on personal knowledge as to matter in which they have had
   personal involvement and on information and belief as to all other matters.
   5
     “Agreement for Collection” between Oklahoma Sheriffs’ Association and Aberdeen Enterprizes II, dated January
   1, 2010 and most recently renewed December 16, 2016. At p. 3

                                                                                                                    11
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            5.     Indigent plaintiffs are repeatedly threatened by Aberdeen and told that failure

    to pay them will result in a warrant (a warrant for which they will be charged an additional

    $80).

            6.     The Plaintiffs were not given notice that if a warrant is issued for failure to pay,

    the Plaintiffs’ driver’s licenses will be suspended.

            7.     The indigent plaintiffs, rather than be assigned community service hours or

    some other non-pecuniary punishment, are required to pay hundreds and often thousands of

    dollars in fines and costs as a part of their sentence. If they fail to pay, a warrant is issued,

    the total debt is increased by 30%, and the case is sent to Aberdeen, who contacts the

    indigent person and tells them they can have the warrant recalled in exchange for money

    up front and a payment schedule – the amount which is determined by the company, not

    the courts. This schedule is enforced through threats, warrants, and incarceration.

            8.     Aberdeen is given the discretion to pay itself first from the 30% of the money

    increased on the debt. The amount originally owed is set by the court at sentencing,

    and is collected by Aberdeen until the entire debt, including the increase is paid. For

    example, if a plaintiff is assessed $1000 in fines and costs, Aberdeen threatens him

    or her with warrants and jail until $1300 is collected from the impoverished person.

    Therefore, Aberdeen routinely extorts money through the arrest and incarceration of

    indigent Oklahoma residents who have already paid enough money to cover the entirety of

    their original court debts.

            9.     These proceedings are initiated and conducted without any inquiry into a

    probationer’s ability to pay—even though the clear majority of Aberdeen’s probationers are

    indigent—and they result in the imposition of further costs, fees, and surcharges, thus


                                                                                                     12
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       trapping probationers in a cycle of debts, arrest, jail, and more debts.

               10.     In addition to the 30% markup in costs owed by indigent named plaintiffs, and

       in addition to the $80 “warrant fee,” the contractual arrangement provides that, “Aberdeen may

       offer to a debtor of a Warrant the opportunity to pay his/her Debt by electronic means by check

       or credit card, when receiving payments. The charges associated with the convenience of

       paying by electronic means is a convenience that, if the debtor uses that procedure, the charge

       for such processing shall be chargeable to the debtor with notice, and shall be in compliance

       with applicable law.”6 Therefore, the poor pay for a 30% mark up on the actual debt imposed,

       $80 for a warrant to be issued when they cannot pay, and then they pay a “convenience fee” for

       actually paying Aberdeen in a manner that is convenient to both the payer and Aberdeen. When

       the plaintiffs simply cannot pay, Aberdeen tells them warrants will be issued.

               11.     Aberdeen and the Sheriffs’ Association have conspired to make good on these

       threats by jailing probationers who do not pay in order to create an environment of desperation

       that has made each of them millions of dollars from this illegal scheme.

               12.     The Plaintiffs seek declaratory, injunctive, compensatory, and punitive relief

       for themselves and all others similarly situated.

                                                    Jurisdiction and Venue


               13.     This is a civil rights action arising under 42 U.S.C. § 1983, 18 U.S.C. § 1964(c)

       (RICO), and 28 U.S.C. § 2201, et seq., and the Fourth, Sixth, and Fourteenth Amendments to

       the United States Constitution. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and

       1343. The Court has supplemental jurisdiction over the state law causes of action asserted in

       this Complaint pursuant to 28 U.S.C. § 1367 because the state law claims form part of the same

   6
       “Agreement,” at 4

                                                                                                        13
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       case or controversy as the federal law claims.

       14.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391.


                                                       Parties

       15.     Plaintiff Ira Wilkins is an indigent resident of Tulsa, currently in the custody of the

               Oklahoma Department of Corrections.            Mr. Wilkins was represented by a Public

               Defender when he plead in Tulsa County District County on April 6, 2015. A Bench

               warrant for Failure to Pay was issued on March 23, 2016 and sent to Aberdeen for

               collections. From June 6, 2016 to June 17, 2016, he was in custody of Tulsa County Jail

               and was assigned a Public Defender. Currently, he is incarcerated in the Department of

               Corrections. Aberdeen has requested that a warrant be issued, and a warrant was issued,

               out of Wagner County, Oklahoma. He has been cleared for release if were not for the

               warrant for failure to pay. Counsel has recordings between the family of Mr. Wilkins

               and Aberdeen. They explain he is in custody and has zero income. Aberdeen explicitly

               states that there is no recourse for showing he is unable to pay.

       16.     Defendant Aberdeen Enterprizes II is an Oklahoma corporation registered to do

               business in Oklahoma. According to their own materials, “°What does Aberdeen do?

               We collect unpaid court costs and fines for the counties and municipalities in

               Oklahoma °What is the most important thing we do? We request the recall of failure to

               pay warrants”7 Aberdeen sends letters and makes numerous phone calls to plaintiffs

               threatening them with warrants if they fail to make payments. Aberdeen collects over a

               million dollars a month from people who are destitute and face the illegal and

               unconscionable choice of going to jail or going without basic necessities for themselves

   7
       Exhibit 2. Aberdeen Enterprizes, “Two Things You Need to Know!”

                                                                                                     14
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              and their families.

       17.    Defendants 1-77 are the Sheriffs who comprise the Sherriff’s Association, who

              contract with Aberdeen to extort money from the poor. In 2015 alone, the Sherriff’s

              Association made over $829,075 from its contract with Aberdeen.8

                     •    The end of year assets from 2009, before they received the kickbacks from

                         the extortion scheme, was $52,755. The end of year assets from 2015, after

                         5 years of collection, was $2,717,449 for this “non-profit.”

                     •    During the same time period, “Advertising and promotion” has increased

                         from $189 to $91,292. Travel expenses have increased from $1,129 to

                         $11,745. “Conferences” have increased from $34,070 to $103,720. “Public

                         Relations” has increased from $0 to $36,585 (in addition to the enormous

                         increase advertising).

       18.    The Sheriffs’ Association is also a lobbying organization.

       19.    The Sheriffs are responsible for operating the County jails, so they receive money for

              jailing inmates when the indigent cannot pay and warrants are issued. In nearly every

              county in Oklahoma, people who are living in poverty have to pay the jail for the

              “privilege” of being forced to stay in jail for being too poor to bond out. These fees are

              added to the impoverished person’s fines and costs, adding to Aberdeen and the

              Sheriffs’ Associations profits. In addition, some of the costs that every defendant must

              pay goes to the Sheriffs - just not to the Sheriffs Association. The “Sheriff’s Service

              Fee on Arrests” is $5 for every count changed. The “Sheriff’s Service Fee for Court

              House Security” is $10 for every count charged. This is per count, not per defendant.


   8
       IRS 990 doc

                                                                                                      15
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                                               Factual Background

     The Debt Collection Scheme in Oklahoma

                  20.      The treatment of the Plaintiffs was caused by and is representative of the

         policies and practices employed by the Sheriffs’ Association and Aberdeen to collect debts

         from the fines, costs, fees, and surcharges on criminal cases across the state of Oklahoma.

                  21.      The experiences of the named Plaintiffs have been corroborated through

         written policy documents and interviews with people who have been subjected to

         Aberdeen’s threats and extortion scheme. Many of the current and former probationers

         break down crying when they recount the basic necessities of life that they and their families

         have had to forego under threat of being arrested for not being able to pay Aberdeen what

         they demanded. When they are jailed for lack of payment at the request of Aberdeen they

         are forced to endure deplorable conditions and physical and verbal abuse at the County

         jails.

The Agreement for Collection Between the Sheriffs’ Association and Aberdeen

                  22.      The Agreement for Collection is “by and between The Oklahoma Sheriffs’

         Association (“Association”), in its capacity as administrative agent of certain, participating

         County Sheriffs of Oklahoma9 (the “County Sheriffs”), and Aberdeen Enterprises II, Inc., an

         Oklahoma corporation (“Aberdeen”) for the collection of fines, penalties and assessments of

         certain “Warrants”…issued by the County Sheriffs in the State of Oklahoma.”10

                  23.      The Agreement gives Aberdeen “in effect” with the Administrative Director of

         the Courts, “an Agreement Regarding Use of the Oklahoma Court Information System of

         Private Collections Vendor (OCIS Agreement,) for access to certain district court case

     9
         Defendants 1-77
     10
         Agreement, at 1

                                                                                                       16
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    management and accounting functions on OCIS.” This gives Aberdeen access to certain

    district court case management and accounting functions on OCIS.”11

                    24.   The Agreement ostensibly limits Aberdeen’s conduct, and, at the same time,

    links the contract to the County Clerks, requiring that Aberdeen shall “use its best efforts of

    collect any Debts associated with any Warrants referred to Aberdeen hereunder solely utilizing

    means which are legal, necessary and proper. Aberdeen shall not harass or exert undue

    pressure on delinquent debtors or employ any procedure that would cast discredit upon the

    Association, the County Clerks(s), or otherwise subject the Association, the County Sheriff(s)

    and/or such Court Clerk(s) to public disapproval; and (ii) comply with all applicable federal,

    state, and local laws and regulation with regard to collection practices and procedures.”

                          A. The Sherriff’s Association must have known Aberdeen had no intention of

                              limiting their collection activities to those which are “legal, necessary and

                              proper” because using warrants and jail to enforce debt collections is illegal,

                              and Aberdeen’s own promotional materials state they will take the funds

                              that people on social security receive, which is illegal. Furthermore,

                              Aberdeen has no capability to determine if the warrant is issued because of a

                              refusal to pay or an inability to pay, which is also illegal.

                          B. Oklahoma statutes provide instructions for those who cannot or will not pay

                              fines and costs. “…. if the defendant shall refuse to pay the fine, fees or

                              costs, the payment of such fees and costs, in addition to the payment of the

                              fine assessed, shall be enforced by imprisonment until the same shall be

                              satisfied at a rate of Twenty-five Dollars ($25.00) per day of such fees and

                              costs, or fine, or both, or shall be satisfied at a rate of Fifty Dollars ($50.00)
   11
        Id., at 3

                                                                                                             17
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                     per day of such fees and costs, or fine, or both, should the defendant perform

                     useful labor. If the defendant is without means to pay the fine, fees or

                     costs, the total amount owed shall be entered upon the judgment docket and

                     thereupon the same remedies shall be available for the enforcement of

                     said judgment as are available to any other judgment creditor.12

                            C. In essence, this statute allows a judge to issue a bench warrant for

                                 Failure to Appear at an asset hearing after the debtor has been

                                 personally served. This process outlined by statute differs in

                                 important ways from the manner in which warrants are issued for

                                 Failure to Pay. First, there is personal service for the defendant to

                                 appear. Even if we assume that personal service occurs at the Rule

                                 8 Hearing during sentencing when a judge orders the defendant to

                                 report to the Cost Administrator, warrants have been issued long

                                 after the defendants appear at Cost Administration. That is, for

                                 criminal defendants, warrants were issued Failure to Pay, but for

                                 civil debtors, the warrants were issued for Failure to Appear.13 We

                                 are unaware of any statue which allows civil remedy, as required

                                 by 28 O.S. §101, “available for the enforcement of said judgment

                                 as are available to any other judgment creditor,” that includes

                                 repeated incarceration for lack of payment.

           25.   The Oklahoma Court of Criminal Appeals Rules also provide for the

    circumstances under which defendants might be incarcerated for Failure to Pay. Rule 8.2 states

   12
     Title 28 O.S. §101.
   13
     See “BENCH WARRANT ISSUED FAILED TO PAY BY ORDER OF THE HONORABLE COST. ADMIN.
   JUDGE (GENERAL),” attached.

                                                                                                   18
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    that “[i]f the defendant, by judicial finding, is financially able but refuses or neglects to pay the

    fine and/or costs in accordance with the court order, he/she may be immediately

    confined. See Section 983(A) of Title 22.”

               26.    There has been no proper hearing by our district court judges before the warrant is

    issued to determine if the failure to pay is the result of unwillingness or inability; furthermore,

    even after incarceration, most defendants do not see a judge to make a determination. They are

    simply released if they come up with the cash bond or are held and then released to Cost

    Administration or Aberdeen if they cannot make a cash bond. The statutes and court rules

    assume that the defendants’ financial situation is taken into account, when in practice, the court

    doesn’t hear the defendants’ financial situation even after they have been placed into custody.

               27.    The Agreement states that Aberdeen may charge a convenience fee if the

    plaintiff pays by electronic check or credit card. This means that in addition to the 30%

    mark up over what fines and costs are owed as part of the case, there is an additional

    cost for the manner in which it is paid.14

               28.    Funds extorted by Aberdeen are dispersed to the respective Counties on

    the 15th day of the month. Further dispersements are given to the Court Clerk of the

    County that has issued a Warrant. That Court Clerk will then pay Aberdeen “30% of the

    original fines before the administrative fees were added or 23.0769% of the total monies

    received or 20% of the original fines before the administrative fees were added, or

    16%.67 whichever is less as determined by the assignment date of the case for

    collection.”15

               29.    Aberdeen also distributes an unknown percentage back to the Sheriff’s


   14
        Agreement, at 4
   15
        Id.

                                                                                                      19
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    Association. This percentage has been redacted from the contract, but in 2015 alone, the

    “Warrant Collection Program” gave the Sheriffs’ Association $829,075. That is 67.8% of their

    total funds for the year. That money bulk of the money from the poor was spent on

    “Compensation of current officers, directors, trustees, and key employees” ($70,354)16, “Other

    salaries and wages” ($111,100), “Advertising and promotion” ($91,292), “Office Expenses”

    ($63,796), “Public Relations” ($36,585) and “Conferences, conventions, and meetings”

    ($103,720)17. The balance of the non-profit as of 2015 was $2,717,449.18 The statutory

    provision which makes this possible states that “The administrative cost reflected in subsection

    A of this section, when collected, shall be distributed to the association administering the

    provisions of the contract, a portion of which may be used to compensate the contractor.”

    However, it’s not clear that the Sheriff’s Association has any actual expenses associated with

    the collection of these costs. Certainly, there is nothing on the 990 IRS Form which indicates

    expenses for collection that would approach what they are taking in.

            30.     After Aberdeen collects $1,000,000, in gross revenue, then a new distribution

    scheme goes into effect with the Sheriffs’ Association getting an unknown (redacted)

    percentage of the 30% of revenue Aberdeen adds to the cost to the poor, and Aberdeen retains

    the balance as its fee for collection of the accounts.19

            31.     The distribution of partial payments by the poor on pay plans with Aberdeen are

    divided with 76.9231% to the Court Clerk’s offices and “23.0769% of the payment or 16.67%

    whichever is less as determined by the assignment date of the case for collection to Aberdeen




   16
      This is the salary of Ray McNair, Executive Director of the Sheriff’s Association.
   17
      The Sheriffs’ Association also claims it made $85,820 from “Conferences and Seminars” during the same year.
   18
      Oklahoma Sheriffs’ Association IRS Form 990 (2015)
   19
      Agreement, at 5-6

                                                                                                                    20
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    until the full amount is paid.”20

    32.       Aberdeen shall cease collection of any debts upon the filing of this lawsuit.

                    A. “Aberdeen shall not represent Association, any County Sheriff’s office and/or

                         any Court Clerk’s office in any matter other than the collection of an account

                         referred hereunder. If and when an account referred to Aberdeen by the

                         Association, a County Sheriff and/or Court Clerk hereunder become

                         involved in litigation, Aberdeen shall immediately suspend collection

                         activity and/or return any account at no charge, upon the request of

                         Association, such County Sheriff’s office, and/or Court Clerk’s office. In

                         no event shall Aberdeen seek to collect on any account which becomes

                         involved in litigation including without limitation, bankruptcy.21

                    B. Because this lawsuit includes all Sheriffs in Sheriff’s Association, all

                         collection must immediately cease and/or Aberdeen must return any account

                         at not charge, under the terms of the contract.

              33.   The Sheriff’s Association turned over private information on the plaintiffs to

    Aberdeen: “Association will provide to Aberdeen any debtor information that would be

    available to Association for purposes of collecting the warrant.”22

    34.       The Agreement requires that Aberdeen hold the Sheriff’s Association harmless:

                                •   “It is hereby acknowledged and agreed by the Parties that
                                    Association, its Board members, officers, County Sheriffs and
                                    Court Clerks shall have no liability for any acts or omissions by
                                    Aberdeen, its officers, agents and/or employees, connection with
                                    its performance or failure to perform its duties and obligations
                                    under this Agreement. Rather, notwithstanding anything to the
                                    contrary, Aberdeen shall indemnify, defend, and forever hold

   20
      Id. At 6
   21
      Id. At 7
   22
      Id. At 7-8

                                                                                                    21
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                                      harmless Association, its Board members, officers and directors,
                                      the County Sheriffs, the State of Oklahoma, the Oklahoma
                                      District Court, the Administrative Office of the Courts and their
                                      officials, agents and employees from and against any and all
                                      claims, damages, liabilities, costs and expenses (including
                                      reasonable attorneys’ fees) (collectively “Claims”) arising out of
                                      any breach of any of Aberdeen’s warranties, representations and
                                      duties and/or obligations pursuant to this Agreement including,
                                      without limitation, any acts or omissions on the part of Aberdeen
                                      and/or any officer(s), agent(s), and/or employees(s) of Aberdeen
                                      in connection with its performance under the terms of this
                                      Agreement. Upon receipt by Aberdeen of written notice of any
                                      claim for which such indemnity applies, Aberdeen shall
                                      immediately undertake the defense of any such claim or action
                                      and permit Association to participate, in Association’s sole
                                      discretion.”23

    The Defendants’ Contract and the “User Funded Model”

                   35.   Aberdeen and the Sheriffs’ Association, with the knowledge of the Counties,

    agreed to enter into an arrangement in which the parties would operate an “offender-funded”

    or “user-funded” model in which all its revenues would be extracted from the people that it

    supervised. The Sheriffs’ Association agreed to enter into the arrangement implementing this

    model because Aberdeen promised them that its methods would not only produce a profit

    for the Sheriffs’ Association but would also result in coercing probationers to pay a larger

    amount of the County’s court debts. The two parties entered into the Contract that is still in

    effect. See Exhibit 1.


                   36.   This Contract removes discretion from the judge. N o mechanism is in place

    for the judge to review the ability of the plaintiff to pay, as required by the law. Aberdeen is

    able to request that a warrant be issued or recalled for Failure to Pay, and it is Aberdeen who

    has had contact with the impoverish plaintiff. The judge issuing the warrant has forfeited his or

    her role to a private company, and the company collects money that is used to pay the judge

   23
        Id. At 9

                                                                                                     22
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    and the judge’s retirement.

    37.      In sum, he Contract unlawfully delegates to Aberdeen employees critical decisions in

    the collection of fines and costs, including who has the ability to pay, how to pay, when to

    pay, and how much to pay. The contract unlawfully increases what criminal defendants owe by

    30%, it kickbacks money to the Sheriffs’ Association, and it undermines the proper authority of

    the courts to the courts’ financial profit. The contract does all of the above at the expense of the

    people with the least power, who can least afford it, and moves money to officials in power,

    who already live well above the poverty level.



    How People Are Assigned Aberdeen – Tulsa County Example24

    38.      The methods of ending up on Aberdeen’s collection list do not differ significantly from

             county to county. Tulsa County is used as an example for brevity.

    39.      After people have been incarcerated for 6 days without bonding out of jail, they are given

             a Pauper’s Affidavit by an official with the Sheriff’s office. Then, the judge makes a

             finding of indigency, and poor defendants are assigned a public defender or other

             appointed counsel.25 Approximately 2-3 weeks later, if charged with a misdemeanor, or

             one month later, if they are charged with a felony, plaintiffs get an opportunity to plea –

             often to probation and the fastest way out of jail for the poor.


    40.      Those who plead are given a Rule 8 Form to sign which includes fines and fees. They

   24
      In April 2017, Tulsa County Court change part of the manner in which is collected fines and costs by creating a
   “Cost Docket.” After years of holding indigent people in custody for 10 days for no other reason than failure to pay
   with no hearing, no lawyer, and no reduction in what defendants owe, Tulsa now holds people jails people for 1 day
   and then gives them a court date through an employee of the sheriff at the jail. No restitution was given to those who
   had already been harmed. No changes were made so that indigent people could receive community service hours or
   some other alternative to costs. None of the 20,000 outstanding warrants issued illegally were recalled. None of the
   issues addressed in this lawsuit were cured by Tulsa County with the Cost Docket.
   25
      In counties other than Tulsa and Oklahoma, who have a public defender system, counsel from the Oklahoma
   Indigent Defense System is appointed, and defendants are charged for their services, the costs of which are added to
   the fines and costs eventually collected by Aberdeen.

                                                                                                                      23
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             will have been in custody that entire time between arrest and sentencing – often losing

             jobs, housing, and any meager possessions they may have had.


    41.      The fines are assessed by the judged. But the “costs” associated with each charge are

             unknown to the judge, the plaintiff, and the public defender. The judge makes a

             “finding” that the plaintiffs have the ability to pay despite never asking the plaintiffs

             whether they are able to pay, if they are on social security or other public assistance,

             whether they have dependents or pay child support, or in some other way would suffer

             financial hardships. These costs are often over $200 per count.

    42.      Judges are given other options on the Rule 8 Form: The Rule 8 Form gives the Court the

             ability to choose a) to have found the defendant has the ability to pay and that the

             defendant agrees to pay by installment and ordered to report immediately to the Cost

             Administrator;26 b) find that they are not able to pay and ordered to perform community

             service hours in lieu of the fines and costs, or,27 c) find that the defendant cannot pay

             and suspend the fines and costs.28 Any option other than a finding of “able to pay” is

             essentially a fiction. As explained, infra, an honest, true finding of ability to pay is what

             is required under the Equal Protection clause of the Oklahoma and United States

             Constitutions.

    43.      When people are not able to pay29 a warrant is issued. No hearing is held to determine if

             the person has the ability to pay but refuses, or simply does not have the means to pay.

             In fact, even when it is blatantly obvious that people are destitute, debt is referred to

   26
      Such an order is impossible for the defendant to follow because nearly all indigent defendants are in custody and
   will not be released until long after the courthouse is closed.
   27
      It is estimated by Public Defenders that fewer than 1% of indigent defendants are given work hours instead of
   fines and costs.
   28
      Suspension of fines and costs is rarer than work hours in lieu of fines and costs.
   29
      Data for 2007 suggests that 74% of Public Defender clients were issued a warrant for failure to pay

                                                                                                                      24
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                Aberdeen and the debtors are imprisoned.

                       A.     For example, in a Tulsa County case styled as CF-16-52, the plaintiff was

                             charged with Larceny from a Retailer and Trespassing. His total bond was

                             $1500, so he was unable to provide $150 to a bondsman. He was arrested

                             New Years Eve 2016, and spent 8 days in jail before filling out a Pauper’s

                             Affidavit. According to his Pauper’s Affidavit, he is on social security

                             disability, has a total income of $750 per month, and owns no property. The

                             plaintiff was appointed a public defender on January 7, 2017. January 28,

                             2016, he pleaded guilty to a reduced charge of two misdemeanors, and was

                             assessed $425 in fines and fees on the Rule 8 form. He was also assessed

                             $385 in hidden costs that include, among others, two charges for $83 each on

                             “court costs on misdemeanor,” two charges of $15 each for “DA Council

                             Prosecution Assessment for Misdemeanor,” two charges of $10 each for

                             “Sheriff’s Service Fee for Court House Security,” two charges of $5 each for

                             “Sheriff’s Service fee on Arrests,” and two charges of $7 each for “Court

                             Clerk Administrative Fee on Collections.”

                       B. On May 31, 2016, a warrant was issued for Failure to Pay, the case was sent

                             to Aberdeen for collections, and a cash bond was set for $897 that he would

                             have to pay in order to be released30. This is more money than he makes in an

                             entire month. On June 7, 2016, the plaintiff was in custody for Failure to Pay.

                             He never saw a judge or was appointed counsel. The minute reads that his

                             “Court Cost Hearing Date” would be set for June 16, 2016. “Prior to the court

                             cost hearing the defendant may at any time pay a total cash payment of
   30
        The plaintiff had other cases in which he was unable to pay the fines and costs.

                                                                                                          25
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                           ($500.00), be released and order to report immediately to cost administration

                           for information pertaining to Aberdeen Enterprises or call Aberdeen to set up

                           payment arrangements on the remaining balance. **2nd Aberdeen**”31

                     C. Plaintiff was given a letter to sign, not by the court or an attorney, but by a

                           sheriff’s officer at the jail acknowledging his “debt” to Aberdeen.32 On the

                           line for “address” this plaintiff wrote “415 W. Archer, Tulsa, OK.” That

                           address is the Day Center, one of the best known homeless shelters in Tulsa.

                           On this one occasion, for this one plaintiff, a man spent 10 days in jail33,

                           costing tax payers approximately $600 to incarcerate him, because he could

                           not afford $500 cash to give to Aberdeen. He was finally released on June 16,

                           2017. Aberdeen continues to try to collect his debt.

    44.      The plaintiff in the example above was not an isolated case. According the Vera Report,

             a study of the calendar year 2016 inmate population in the Tulsa County Jail, 1,163

             people were booked into the jail for the top charge of Failure to Pay fines and costs. The

             average length of stay was 5 days. At $60 per day, Tulsans paid approximately $348,900

             to incarcerate the poor for non-payment of fines in 2016 alone. At 1,163 persons booked

             into jail, Failure to Pay was the fourth top charge in admissions in 2016, after Possession

             of Controlled Drug (1,326 persons booked), Public Intoxication (1,267 persons booked),

             DUI First Offense (1,262 persons booked). The fifth top charge for admissions in 2016

             was first offense Domestic Assault and Battery with 655 persons booked.34 Currently,


   31
      Emphasis in original.
   32
      From the form letter: “You will be released today and you are to call Aberdeen Enterprises (sic) II at
   918.794.0810 or report to their office at 4143 e. 31st. Street, Tulsa, OK 74135 within 48 hours upon release. If you
   fail to call or report to Aberdeen Enterprises II, a bench warrant will be issued for your arrest. A warrant fee of $80
   will be added to each case.”
   33
      Having previously spent 28 days in jail because he could not afford to bond out before plea.
   34
      “Report to Tulsa County Stakeholders on Jail Reduction Strategies,” Vera Center on Sentencing + Corrections.

                                                                                                                        26
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             there are over 20,000 active warrants for Failure to Pay just in Tulsa County.

    45.      In counties other than Tulsa and Oklahoma, where impoverished clients are assigned

             attorneys from the Oklahoma Indigent Defense System, 67% of cases filed are against

             indigent people.35

    46.      In every county, warrants are issued for Failure to Pay without a hearing to determine

             ability to pay, and the debt increased by 30% is given over to Aberdeen. Plaintiffs could

             pay the Cost Administrator directly, even after the debt is sent to Aberdeen, but Aberdeen

             conspires to mislead the Plaintiffs. According to their own materials, “If the defendant

             contacts the court clerk’s office, they can be easily redirected to our 1-800 number so a

             case manager can handle any of the defendant’s needs…”36 In guidelines for their

             employees collecting debts, Aberdeen writes, “You are to NEVER refer any defendant to

             call the court clerks.”37

    47.      Aberdeen states in its promotional materials that they make no exception for plaintiffs

             who are so indigent that they receive social security disability or other forms of public

             assistance. “Typically, we will put persons on disability or SSI on a minimum payment

             schedule of approximately $50 per month.”38 A single person receives $735 per month in

             disability. That is $8820 per year, or 27% below the federal poverty level standard.

    Collection by threat

    48.      Aberdeen relies on warrants and threats of warrants to collect debt from the poor.

             According to Aberdeen’s own training materials, as discussed supra, Aberdeen

             considers the most important thing they do is not the collection of money owed to the


   August 2017
   35
      OIDS 2016 Annual Report.
   36
      Exhibit 3, “Collection Process” Aberdeen Enterprizes
   37
      Exhibit 4, “General Collection Rules/Guidelines for working cases” Aberdeen Enterprizes Emphasis in original.
   38
      Exhibit 5, “Collection Process” Aberdeen Enterprizes

                                                                                                                  27
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            court, but to “request the recall of failure to pay warrants.” “°What does Aberdeen do?

            We collect unpaid court costs and fines for the counties and municipalities in

            Oklahoma °What is the most important thing we do? We request the recall of failure to

            pay warrants”39

    49.     Aberdeen claims the County and Sheriffs’ Association can expect “full collection after

            locating and contacting a defendant in: 60 days for cases of $400 or less; 120 days for

            cases of $401-800; and cases of $801 + being resolved based on the ability of the

            defendant to pay over time.”40

    50.     Aberdeen’s policy is to “Establish a 40% first payment to recall the warrant on cases

            where the balance is over $500, followed by a reasonable monthly payments until the

            debt is resolved.” On a plea for a misdemeanor Driving Under the Influence charge,

            fines and costs typically are approximately $1300 for indigent plaintiffs. Adding the

            30% mark up for being with Aberdeen, the plaintiff owes $1690. Therefore, Aberdeen

            demands $664 up front from people in poverty in order to ask for the warrant to be

            recalled.

    51.     Aberdeen contacts plaintiffs by phone and letter. Aberdeen’s first letters to plaintiffs

            ends with “Please contact us to make arrangements and avoid the service of any bench

            warrant”41 Aberdeen’s second letter to plaintiffs states, “If you contact us, I will

            discuss options with you that can allow you to make monthly payments on your

            balance and have your bench warrants(s) recalled.”42 Aberdeen’s third letter to

            plaintiffs states, “You have previously entered into a payment plan agreement that


   39
      Exhibit 2. Aberdeen Enterprizes, “Two Things You Need to Know!”
   40
      Exhibit 5, “Collection Process” Aberdeen Enterprizes
   41
      “Sample – 1st Notice / First Letter” Aberdeen Enterprises
   42
      Exhibit 4 “2nd Notice / Second Letter” Aberdeen Enterprises

                                                                                                  28
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               covers a specific account or accounts that is now in default. We are required to report

               this default to the courts, which could result in the issuance of a bench warrant for your

               arrest and will increase the costs that you will owe.” These letters are sent in addition

               to the numerous phone calls made to plaintiffs threatening them with warrants if they

               fail to make payments. They collect over a million dollars a month.

    52.        When a plaintiff calls Aberdeen after receiving a letter, the case managers are told to

               say the following: “Thank you for calling Aberdeen Enterprizes this is Greg how can I

               help you?—One the letter you received there will be an account ID in the upper right

               hand corner, please share that with me.—Mr. Smith you have a balance of

               $2612.75 and a failure to pay warrant for court costs and fines with

               Osage County. Do you have the ability to pay this balance in full

               today? –If you are not able to pay the balance in full, we can set up a payment plan of

               $1000 down and monthly payments of $125. We also accept payments online and over

               with phone with your credit or debit care. Upon receiving your down payment, we

               will send a request to have the FTP warrant recalled and make the county aware of

               your payment plan. We will set up a reminder call three days before your payment is

               due to help ensure that you stay current with your payments. How would you like to

               make the down payment?”43

    53.        There is no pretense of the interaction being other than month for warrant recall. No

               attempt is made at determining ability to pay or suggesting alternatives such as going to

               the judge or court clerk. This is simply extortion.

    54.        For outbound calls, used when Aberdeen has been given telephone contact information.

               “Hello this is Greg from Aberdeen. I am calling for Mr. Terry Smith. Is Mr. Smith
   43
        Exhibit 6, “Call Flow” Aberdeen Enterprizes

                                                                                                       29
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              available?—Mr. Smith, we handle unpaid court cost that has bad a FTP warrant issued

              on the case and we are calling you in regards to an issue with Osage County. Our

              records show there is an outstanding balance of $680 for unpaid court cost. Are you

              able to pay this in full today? – Okay, we can also set up a payment place with a

              down payment of $250 and $125 monthly until the balance is paid in full. –Mr.

              Smith because you are on SSI disability of $770 a month and receive no other

              income, we can come down to $150 down and set you on month payments of $50.

              We take that payment over the phone with a debit or credit card. –Yes sir, we can

              set that first payment for the 3rd of the month when your check is deposited, but

              just remember you will have a warrant until the down payment is made. If you

              have any problems as the months go by, please give us a call so that we can try to assist

              you in any way that we can. Mr. Smith, if you will send a copy of your awards letter

              we will put it in your file for future reference.”44

    55.       As explained, supra, people on disability are already living 27% below the federal

              poverty line, and Aberdeen is asking for nearly 20% of the plaintiff’s month income to

              release the warrant and then $50 per month thereafter. These people are indigent by

              any standards. They were found to be paupers by the court in in order to get counsel

              appointed. They fall below they federal poverty guidelines. They were referred to the

              collection agency in the first place because they missed a payment or signing up with

              the Cost Administrator.

    56.       When a plaintiff has fallen behind on payments to Aberdeen and proactively calls to

              avoid a warrant, this is what they are told: “Thank you for calling Aberdeen

              Enterprizes this is Greg how can I help you? –On that letter you received there is an
   44
        Id.

                                                                                                     30
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              account ID number in the upper right hand corner could you share that number with

              me? ---After reviewing your account I see that we sent you that letter in regards to your

              account going delinquent 60 days. When an account is 60 days delinquent, the

              county could reissue a FTP warrant. We want to get you back on track and get

              this account current before that happens. You are $200 past due, are you able to

              pay that today? – if you are able to make a regular payment for this month and half of

              what you are behind, you can do the same next month to get caught up. When you are

              current, we can go back to the $100 per month. As always we can process your

              payment via Visa, Master Card, cash, or money order. Thank you for getting back to us

              about this matter, we look forward to helping you get this issue resolved.”

    57.       There is no part of the interaction in which Aberdeen employees asks about ability to

              pay or suggests that the person see a judge. The interactions are a closed loop between

              Aberdeen, the Sheriffs’ Association, law enforcement who makes the arrest, and the

              pauper at their mercy.

    58.       When Aberdeen learns that the impoverished plaintiff has children, this fact does not

              mitigate the debt, but rather is exploited. Aberdeen case managers are told to say, “I

              understand that is a lot to come up with at once. What do you do for a living? Is it

              just you on your own? Like I said I want to help you get this resolved. I would not

              want you to get pick up on this warrant and not be there for your kids.”45

    59.       Under “Negotiation” Aberdeen counters legitimate reasons why people cannot pay.

              “Listen to any objections (Can’t get a job, on fixed income, etc.) Overcome the

              objections (Job list, special arrangements for people on SSI, etc.) I understand it is

              tough out there, but we do offer a job list that could give you some leads on maybe a
   45
        Id.

                                                                                                     31
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              better job that does hire people with a criminal record. With your situation I can

              definitely work with you and I can get that down payment down to half that and set you

              up for $___ down and then lower that month payment to $___ a month.”46

    60.       Aberdeen admits that plaintiffs may either pay “the client” (Court Cost Administrator

              for each county) or Aberdeen but they “believe that recovery is significantly higher if

              Aberdeen processes the payments exclusively. Client recovery requires the defendant

              to be proactive in a way that will reduce the likelihood of full recovery. Aberdeen has

              found that creating a relationship, completing an initial payment, and consistent contact

              with the defendant generates greater recovery with less reliance on the defendant.” In

              other words, they discourage people coming in the Cost Administrator to pay fines and

              costs, which is the function of the Cost Administrator. Instead, they imply they can get

              more money from the impoverished person through regularly contacting them with

              threats of warrants.

    61.       Under “General Guidelines for Warrant Recalls”

                •   “We do not recall warrants, the county does. We send a request to have the

                    warrant recalled.”

                    However, the county is extremely responsive. “It takes anywhere from 1 hour to

                    72 hours for the county to get the warrant recalled.”

                •   “Any time that we take a payment on a case with a failure to pay warrant, we are

                    required to send a request to have the warrant recalled. You must also make sure

                    that the case is put into the correct status code when the first payment is made.”

                    There is no oversight from the courts or the Sheriffs’ Association that the case is


   46
        Id.

                                                                                                         32
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                     put in correctly or warrants are issued or recalled by mistake.

             •       “We can only get Failure to Pay warrants recalled. (Failure to Appear in some

                     exceptions).

                     Again, this is done without court oversight.

    62.    According to numerous plaintiffs, if Aberdeen wants $500 down, for example, they

           will refuse to take $100, even if that is all the plaintiff can afford.

   Collateral Consequences

    63.    According to the Plaintiffs, they cannot receive food stamps if there is a warrant for

           Failure to Pay.

    64.    Housing assistance for the mentally ill is unavailable until a Failure to Pay warrant is

           lifted.

    65.    One’s driver’s license is suspended when a plaintiff is unable to pay fines and costs.

    66.    Warrants have a huge adverse impact on one’s ability to get a job. Most employers will

           not hire a person who has a warrant issued for his or her arrest.

    Warrants for Failure to Pay

    67.    The cash bond amount for the warrant issued is generally the entire amount owed. For

           example, for putative class member, Montell Fisher, a “BENCH WARRANT ISSUED

           FAILED TO PAY BY ORDER OF THE HONORABLE COST ADMIN. JUDGE

           (GENERAL)” The total bond amount is $3160.99, which is the amount owed both to the

           court and to Aberdeen, combined. Also noted on the warrant, “Comment: Attention:

           BOOKING DEPT – DEFT MAY BE RELEASED UPON A CASH PAYMENT IN

           FULL OR SET FOR THE COST DOCKET.”

    68.    There is no indication of when this “cost docket” might take place, and no authority for


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            demanding the entire balance up front in cash from an indigent plaintiff without a

            hearing.

   No policy to give plaintiffs a way to ask for a hearing

    69.     The Rules of the OCCA are clear: “If the defendant fails to make an installment

            payment when due, he/she must be given an opportunity to be heard as to the refusal or

            neglect to pay the installment when due. If no satisfactory explanation is given at the

            hearing on failure to pay, the defendant may then be incarcerated. If a defendant has the

            ability to pay but due to exigent circumstances or misfortune fails to make payment of a

            particular installment when due, he/she may be given further opportunity to satisfy the

            fine and/or costs, at the discretion of the court, to be governed by the facts and

            circumstances of each particular case.”47 No policy is in place across the counties for the

            plaintiffs to have an opportunity to be heard.

    70.     The clients could, in theory, file a pro se motion to get a Rule 8 Hearing. Forms could be

            made available at the Cost Administrator’s desk in order to do just that. Even when a

            request for a Rule 8 Hearing is made by an attorney, there is no guarantee that a hearing

            will be granted.48 Instead, the protocol is for the indigent defendants to be found able to

            pay without questions that would cast light on whether that is a proper assessment, and

            then provide no relief from warrants other than payment or jail. This cycle is repeated,

            and when the debt is sent to Aberdeen for collection (with the ability to have warrants

            for Failure to Pay issued), the amount the pauper’s owe is automatically increased by

            one-third.


   47
     OCCA Rule 8.4.
   48
     See Motion for Relief of Fines and Costs filed September 29, 2015 in Tulsa County cases CF-2014-5582, CF-15-
   601, CF-14-306, CF-14-3249, CF-15-423, September 30, 2015 in cases CF-12-3706, CF-13-3247, CF-14-2560, CF-
   11-4166, CF-11-3211, October 1, 2015 in CF-13-3882 which were never considered or set for hearing.

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                        Law Regarding Incarceration for Failure to Pay

    71.   The Department of Justice has issued warnings regarding the collection of fines and

          costs. Our system is essentially the same as the one in Ferguson Missouri which

          received so much negative attention for funding their justice system on the backs of the

          poor. More recently, DOJ sent a “Dear Colleague” letter to city and state judges across

          the nation warning them that a defendant cannot be jailed simply because that person

          cannot pay fines and costs. The DOJ states, “To help judicial actors protect individuals’

          right and avoid unnecessary harm, we discuss below a set of basic constitutional

          principles relevant to the enforcement of fines and fees. These Principles, grounded in

          the rights to due process and equal protection, require the following:

                    (A) Courts must not incarcerate a person for nonpayment of fines or fees

                    without first conducting an indigency determination and establishing

                    that the failure to pay was willful;

                    There are tens of thousands of indigent Oklahomans with Failure to Pay

                    warrants outstanding that are subject to illegal detention.

                    (B) Courts must consider alternatives to incarceration for indigent

                    defendants unable to pay fines and fees;

                    Neither the Oklahoma Counties, the Sheriffs’ Association, nor Aberdeen have

                    a policy that allows for alternatives to payment. The Rule 8 Forms that give

                    such alternative are a fiction. Judges do not inquire about indigency and

                    automatically give every defendant “standard” fines and costs without benefit

                    of alternatives.

                    (C) Courts must not condition access to a judicial hearing on the



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                    prepayment of fines or fees;

                    If plaintiffs fail to pay what Aberdeen requires, a warrant is issued.

                    (D) Courts must provide meaningful notice and, in appropriate cases,

                    counsel, when enforcing fines and fees;

                    No notice is given when warrants are issued.

                    (E) Courts must not use arrest warrants or license suspensions as a

                    means of coercing the payment of court debt when individuals have not

                    been afforded constitutionally adequate procedural protections;

                    Warrants and license suspensions are the only enforcement mechanism for

                    collecting debt from indigent defendants. To make matters worse, Judges,

                    Counties, Public Defenders, Cost Administrators, the Sheriffs’ Association,

                    and Aberdeen all have conflict of interest as the collection of fines and costs

                    directly benefit their retirement fund.

                    (F) Courts must not employ bail or bond practices that cause indigent

                    defendants to remain incarcerated solely because they cannot afford to

                    pay for their release; and

                    The bond practices in Oklahoma Counties violate this guideline every day.

                    (G) Courts must safeguard against unconstitutional practices by court

                    staff and private contractors.

                    Aberdeen and the Sheriffs’ Association operate with little to no oversight

                    from the courts.

                Ballard and Equal Protection

    72.   In Ballard v. State, the Oklahoma Court of Criminal Appeals found that the imposition



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               of fines and costs did not unfairly discriminate against indigent defendants because

               judges had alternatives to financial penalties:

                               The Legislature also inserted a provision in the statute
                               providing that if a defendant “is without means” to pay the
                               fine, fees or costs, these fines, fees or costs shall be entered
                               on the judgment docket, putting the court in the same
                               position as any other judgment creditor. Id. It is this
                               provision—providing for penalties for a willful refusal
                               to pay, but providing for alternate remedies if a
                               defendant is unable to pay—that enables the assessment
                               to withstand a constitutional challenge by an indigent
                               on equal protection grounds. If a defendant cannot pay
                               the assessment because he is without means to do so, he
                               is not thrown into prison or otherwise punished.49

    73.        The Rule 8 Form used in some counties such as Tulsa, provides judges the option to

               waive the fines and costs or assign work hours instead – giving the Court the ability to

               withstand constitutional challenge. However, that protection from Constitutional

               challenge is in jeopardy if the options are, in practice, fiction. Judges rarely, if ever,

               assign indigent plaintiffs work hours instead of fines and costs. Aberdeen has no ability

               to offer alternatives nor incentive to recommend those alternatives to the court over a

               request for a warrant. Furthermore, while the form makes clear that the defendants will

               be incarcerated for failure to pay, no information is given to direct the defendant to seek

               another Rule 8 hearing to petition for relief from fines and costs. Many of these indigent

               clients live in poverty, nearly always lack a complete education, and frequently suffer

               from mental illness and addiction. They cannot, because of their poverty, hire an

               attorney to petition the court for relief. The Public Defender’s Office is not notified

               when a client is incarcerated on a failure to pay warrant or when a warrant is issued.

               Whatever findings are made concerning ability to pay are being made at sentencing,


   49
        State v. Ballard, 1994 OK CR 6, 868 P.2d 738, 741.

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               making the issue ripe at that time, and continuing to be ripe as the collection process

               continues.

    Before incarceration, a hearing must be held to determine if the defendant refuses to pay
    or is unable to pay

    74.        Oklahoma statutes provide instructions for those who cannot or will not pay fines and

               costs.

                              …. if the defendant shall refuse to pay the fine,
                              fees or costs, the payment of such fees and costs, in
                              addition to the payment of the fine assessed, shall
                              be enforced by imprisonment until the same shall be
                              satisfied at a rate of Twenty-five Dollars ($25.00)
                              per day of such fees and costs, or fine, or both, or
                              shall be satisfied at a rate of Fifty Dollars ($50.00)
                              per day of such fees and costs, or fine, or both,
                              should the defendant perform useful labor. If the
                              defendant is without means to pay the fine, fees
                              or costs, the total amount owed shall be entered
                              upon the judgment docket and thereupon the same
                              remedies shall be available for the enforcement of
                              said judgment as are available to any other
                              judgment creditor.50

    75.        The statute is clear that defendants who refuse to pay must be incarcerated and given

               $25 or $50 a day toward fines and costs. This is not the current practice. For at least the

               past year, warrants have been issued without the defendants having been notified. A

               cash bond is set at $500 in every case. In the past, when they were arrested and booked,

               many stayed in custody for up to 14 days without seeing a lawyer or a judge. They were

               not brought in for a hearing to determine if the failure to pay was the result of refusal or

               inability to pay – they were simply incarcerated, and they received no credit toward

               what they owed.

    76.         For example, the defendant in Tulsa County cases CM-13-342, CM-10-4540, CM-08-


   50
        Title 28 O.S. §101.

                                                                                                        38
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          6094, and CM-08-3521 was in custody from December 30, 2016 to January 5, 2017 on

          solely for Failure to Pay. He was released a week early because our office began to pay

          attention to the jail blotter looking for cases like these; such cases were not hard to find.

          The original minute for Mr. Harmon’s case read: COURT COST HEARING SET FOR

          1/12/17. EXECUTION BOND ON CASE(S): CM-08-3521/CM-10-4540/.CM-08-

          6094/CM-2013-342. PRIOR TO THE COURT COST HEARING THE DEFENDANT

          MAY AT ANY TIME PAY A TOTAL CASH PAYMENT OF ($500.00), BE

          RELEASED        AND     ORDERED        TO     REPORT      IMMEDIATELY           TO    COST

          ADMINISTRATION           FOR     INFORMATION          PERTAINING        TO     ABERDEEN

          ENTERPRIZES II OR CALL ABERDEEN ENTERPRIZES II TO SET UP PAYMENT

          ARRANGEMENTS ON THE REMAINING BALANCE. **2ND ABERDEEN**” In

          other words, he had been in custody since December 30, 2016 and the judge set his “cost

          hearing” for 13 days later on January 12.

    77.   This “cost hearing” did not take place. Defendants were set for a hearing that never

          happened; they were simply released and told to call Aberdeen collection agency.

    78.   This case is instructive in another manner – the court’s policy of issuing warrants

          without knowing if the failure to pay was because of inability to pay or refusal to pay. .

          On October 2, 2013, the following minute was entered: “MILLER, ANTHONY:

          BENCH WARRANT ISSUED FOR FAILURE TO PAY A CASH PAYMENT OF

          $386.80. **DID NOT PAY ABERDEEN, 2ND BENCH WARRANT ISSUED, DO

          NOT RELEASE**” Therefore, whomever is reading the minute is specifically warned

          not to release the defendant even though there is no indication that a finding was made,

          pursuant to 28 O.S. §101, that his failure to pay was a refusal rather than an inability.



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          The “Do not release” order is not an aberration; rather, it appears to be a long standing

          policy.

    79.   The second portion of 28 O.S. §101 instructs the court of what to do if the defendant is

          without means to pay the fine, fees or costs. “[T]he total amount owed shall be entered

          upon the judgment docket and thereupon the same remedies shall be available for the

          enforcement of said judgment as are available to any other judgment creditor.” On the

          face of the statute, the debt should be forwarded to small claims, and the debtor might

          find himself with bad credit, but not incarcerated for Failure to Pay. One statute allows

          for a bench warrant and incarceration for a civil debt - Title 12 O.S. §842 (A), regarding

          asset hearings:

                        At any time after a final judgment, order, or decree
                        is filed, on application of the judgment creditor, a
                        judge of the court in which the final judgment,
                        order, or decree was rendered shall order the
                        judgment debtor to appear before the judge, or a
                        referee appointed by the judge, at a time and place
                        specified in the order, to answer concerning the
                        judgment debtor’s property. The judge may, by
                        order, enjoin the judgment debtor from alienating,
                        concealing, or encumbering any of the judgment
                        debtor’s nonexempt property pending the hearing
                        and further order of the court. Upon the judgment
                        debtor’s disclosure of any nonexempt property,
                        proceedings as provided by law may be had for the
                        application of the property to the satisfaction of the
                        judgment. If the judgment debtor is personally
                        served with an order to appear pursuant to this
                        section, the judge issuing the order may
                        authorize the issuance of either a contempt
                        citation or a bench warrant for the judgment
                        debtor’s failure to comply with the order. If the
                        judgment debtor is served by other than
                        personal service, the judge may authorize the
                        issuance of a contempt citation for the judgment
                        debtor’s failure to comply with the order.



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    80.   In essence, this statute allows a judge to issue a bench warrant for Failure to Appear at

          an asset hearing after the debtor has been personally served. This process outlined by

          statute differs in important ways from the manner in which warrants are issued for

          Failure to Pay. First, there is personal service for the defendant to appear. Even if we

          assume that personal service occurs at the Rule 8 Hearing during sentencing when a

          judge orders the defendant to report to the Cost Administrator, warrants have been

          issued long after the defendants appear at Cost Administration. That is, for criminal

          defendants, warrants were issued Failure to Pay, but for civil debtors, the warrants were

          issued for Failure to Appear.51 We are unaware of any statue which allows civil remedy,

          as required by 28 O.S. §101, “available for the enforcement of said judgment as are

          available to any other judgment creditor,” that includes repeated incarceration for lack of

          payment.

    81.   The Oklahoma Court of Criminal Appeals Rules also provide for the circumstances

          under which defendants might be incarcerated for Failure to Pay. Rule 8.2 states that

          “[i]f the defendant, by judicial finding, is financially able but refuses or neglects to pay

          the fine and/or costs in accordance with the court order, he/she may be immediately

          confined. See Section 983(A) of Title 22.” In the past,, there has been no proper hearing

          by our district court judges before the warrant is issued to determine if the failure to pay

          is the result of unwillingness or inability; furthermore, even after incarceration,

          defendants do not see a judge to make a determination. They are simply released if they

          come up with the cash bond or are held and then released to Cost Administration or

          Aberdeen if they cannot make a cash bond. The statutes and court rules assume that the


   51
     See “BENCH WARRANT ISSUED FAILED TO PAY BY ORDER OF THE HONORABLE COST. ADMIN.
   JUDGE (GENERAL),” attached.

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           defendants’ financial situation is taken into account, when in practice, the court doesn’t

           hear the defendants’ financial situation even after they have been placed into custody.

    Collecting fines and costs from people on public assistance is illegal.

    82.    As stated, supra, Aberdeen advertises to the Sheriffs’ Assocation and the Counties that

           they will collect from people on a fixed income from Social Security. This is illegal.

           Under the Social Security Act, 42 U.S.C §407(a) “none of the moneys paid” as part of a

           social security benefit “shall be subject to the execution, levy, attachment, garnishment,

           or other legal process, or to the operation of any bankruptcy or insolvency law.” In

           Philpott v. Essex County Welfare Board, 409 U.S. 413, 93 S. Ct. 590, 34 L. Ed 2nd 608

           (1973), the Supreme Court found that funds from social security were protected from

           claims from state governments. Id. at 417. Oklahoma has not made a specific ruling

           regarding the protection of social security moneys from payment of criminal fines, fees

           and costs. However, based on this Supreme Court ruling, many other courts have held

           that states cannot order individuals to pay legal financial obligations, such as fines, fees

           and costs, from social security benefits. See In re Lampart, 306 Mich. App. 226. 856

           N.W. 2d 192 (2014); State v. Eaton, 323 Mont. 287, 99 P.3d 661 (2004). These courts

           have ruled that legal financial obligations, such as criminal fines, fees and costs, count

           as “other legal process” under 42 U.S.C. §407(a). Additionally, the Supreme Court in

           Wash. State Dep’t of Soc. & Health Servs. v. Guardianship Estate of Keffeler, 537 U.S.

           371, 385, 123 S. Ct. 107, 154 L.Ed. 2d 972 (2003), explained that “other legal process”

           is a process where “some judicial or quasi-judicial mechanism, though not necessarily

           an elaborate one, by which control over property passes from one person to another in

           order to discharge or secure discharge of an allegedly existing or anticipate liability.” In



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          this case, the Court has ordered Ms. Bailey to pay $40 per month to the district attorney

          and a monthly amount to the Tulsa County cost administrator out of her monthly social

          security payment. That order meets the Supreme Court’s definition of “other legal

          process.”

                                     Class Action Allegations

    83.   Plaintiffs bring this Class action on behalf of themselves and all others similarly

          situated, for the purpose of asserting the claims alleged in this Complaint on a common

          basis.

    84.   A class action is a superior means, and the only practicable means, by which

          Plaintiffs and unknown Class members can challenge the Defendants’ unlawful

          debt-collection scheme.

    85.   This action is brought and may properly be maintained as a Class action pursuant to

          Rule 23(a)(1)-(4), Rule 23(b)(2), and Rule 23(b)(3) of the Federal Rules of Civil

          Procedure.

    86.   This action satisfies the numerosity, commonality, typicality, and adequacy
          requirements of those provisions.

    87.   Plaintiffs propose the following class for which they seek declaratory, injunctive, and

          monetary damages: The Plaintiffs in this case are all people living in poverty, found

          to be indigent by the Courts of Oklahoma Counties, who were assigned a Public

          Defender or counsel through the Oklahoma Indigent Defense System throughout the

          term of their case, who are victims of an extortion scheme in which the Defendants

          have conspired to extract as much money as possible, from indigent defendants

          through a pattern of illegal and shocking behavior.

   Numerosity. Fed. R. Civ. P. 23(a)(1)

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    88.   Over the past several months and years, the Counties, Sheriffs’ Association and

          Aberdeen have required and currently requires thousands of people to pay court

          fines and costs, plus a 30% mark up and extra fees for warrants, directly to Aberdeen.

          Pursuant to the Defendants’ policy and practice, all of these people are currently

          being threatened with arrest and jailing if they do not make the payments in the

          amount or frequency demanded by the Defendants.

    89.   The names, case numbers, probation documents, dates of imprisonment, financial

          receipts, and relevant records of the class members are in the possession of the

          Defendants and are easily ascertainable.


    90.   The Defendants have followed and continue to follow materially the same policies,

          practices, and procedures with respect to all of the Class members.

    91.   Those who still owe debt payments or who will incur such debts will be subjected to

          the same ongoing policies and practices absent the relief sought in this Complaint.

   Commonality. Fed. R. Civ. P. 23(a)(2).

    92.   The relief sought is common to all members of the Class, and common questions of

          law and fact exist as to all members of the Class. The Plaintiffs seek relief

          concerning whether the Defendants’ policies, practices, and procedures violated their

          rights and relief requiring that those policies, practices and procedures be changed to

          protect their rights in the future.

    93.   Among the most important, but not the only, common questions of fact are:

              A. Whether Aberdeen Enterprizes and the Sheriffs’ Association contracted for

                 the provision of probation services;



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             B. Factual determinations concerning how Aberdeen and the Sheriffs’ Association

                earns its profit and what fees it charges pursuant to the contractual

                arrangement;

             C. All of the facts surrounding how the County, Aberdeen and the Sheriffs’

                Association operate the collection system pursuant to the Contract, including

                who is placed on a warrant request list; how people are placed on payment

                plans and with Aberdeen; what conditions are imposed by Aberdeen.; what

                policies and practices are in place for plaintiffs under Aberdeen’s

                supervision; what policies and practices are in place for determining ability to

                pay; what policies and practices, if any, are used to determine indigency; what

                policies and practices are used to initiate requests for warrants; what policies

                and practices are in place for collecting money; and how and under what

                circumstances Rule 8 hearings are conducted.


    94.   Among the most important common question of law are:

             A. Whether as a matter of federal law, a County can choose to abandon the

                traditional methods of collection of fines and costs contract to employ a private

                company, with a substantial kick back to the Sheriffs’ Association, with all of

                the same duties and powers but who has a personal financial conflict of interest

                in the management and outcome of every case through a “user funded model”;

             B. Whether a contract creating a debt collector with such a personal financial stake

                is void;

             C. Whether a government can place people on onerous payment plans that involve

                extra fees and serious intrusions on liberty based on wealth status;

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               D. Whether a government and a private company, working together, can

                   circumvent state debt-collection protections by imposing onerous actions that

                   no private creditor could lawfully impose;

               E. Whether it is lawful to issue and execute arrest warrants based solely on non-

                   payment, especially in the case of people known or adjudged in advance to be

                   indigent;

               F. Whether it is lawful to detain a person after arrest because the person cannot

                   afford to pay a preset money bond without any inquiry into ability to pay or any

                   other findings;

               G. Whether it is lawful to use legal process concerning the imposition and

                   collection of fines and costs for criminal cases with the ulterior motive to earn

                   profit.


    95.    These common legal and factual questions arise from one central scheme and set of

           policies   and      practices:   the   Defendants’   enormously   profitable   contractual

           relationship governing their collection practices. The Defendants operate this

           scheme openly and in materially the same manner every day. The material

           components of the scheme do not vary from Class member to Class member, and the

           resolution of these legal and factual issues will determine whether all of the members

           of the class are entitled to the relief that they seek.

   Typicality. Fed. R. Civ. P. 23(a)(3).

    96.    The named Plaintiffs’ claims are typical of the claims of the members of the

           Class, and they have the same interests in this case as all other members of the Class

           that they represent. Each of them suffered injuries from the failure of the Defendants

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           to comply with the basic constitutional and statutory provisions detailed below. The

           answer to whether the Defendants’ scheme of policies and practices is unlawful in the

           ways alleged will determine the claims of the named Plaintiffs and every other Class

           member.

    97.    If the named Plaintiffs succeed in their claims that the Defendants’ policies and

           practices concerning debt collection through misdemeanor probation for fines, fees,

           costs, and surcharges violate the law in the ways alleged in each claim of the

           Complaint, then that ruling will likewise benefit every other member of the Class.


   Adequacy. Fed. R. Civ. P. 23(a)(4).

    98.    The named Plaintiffs are adequate representatives of the Class because they are

           members of the Class and because their interests coincide with, and are not

           antagonistic to, those of the Class. There are no known conflicts of interest among

           Class members, all of whom have a similar interest in vindicating the constitutional and

           statutory rights to which they are entitled.

    99.    Plaintiffs are represented by attorneys from Smolen, Smolen & Roytman, PLLC and

           J Webb Law Firm, PLLC who have experience in litigating complex civil rights

           matters in federal court and extensive knowledge of both the details of the

           Defendants’ scheme and the relevant constitutional and statutory law.

    100.   Counsel’s efforts have so far included extensive investigation over a period of

           months, including numerous interviews with witnesses, plaintiffs and their families,

           attorneys practicing in counties across Oklahoma, community members, experts in

           the functioning of Oklahoma criminal courts, and national experts in debt collection

           and constitutional law.


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    101.   Counsel have also observed and participated in numerous courtroom hearings in

           Oklahoma Counties in order to compile a detailed understanding of state law and

           practices as they relate to federal constitutional requirements. Counsel has studied

           the way that these systems function in other cities and counties in order to

           investigate the wide array of options in practice for municipalities.

    102.   As a result, counsel has devoted enormous time and resources to becoming intimately

           familiar with the Defendants’’ scheme and with all of the relevant state and federal laws

           and procedures that can and should govern it. Counsel has also developed relationships

           with man of the individuals and families most victimized by the Defendants’ practices.

    103.   The interests of the members of the Class will be fairly and adequately protected by the

           Plaintiffs and their attorneys.

   Rule 23(b)(2)

    104.   Class action status is appropriate because the Defendants, through the policies,

           practices, and procedures that make up its debt-collection scheme, have acted

           and/or refused to act on grounds generally applicable to the Class. Thus, a

           declaration that people in the Class are entitled, as a matter of federal law, to a neutral

           collector without a financial conflict of interest in their case would benefit every

           member of the proposed Class. The same applies to legal rulings on the other claims,

           including: that the Contract is void; that the arrangement and the Defendants’ policies

           violate the Equal Protection Clause by imposing onerous debt conditions based on

           wealth status and by imposing debt-collection methods far more onerous than any

           private creditor could lawfully impose; that the scheme to issue arrest warrants

           based solely on non-payment violates the Fourth Amendment and procedural due


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           process;   that   Aberdeen and the Sheriffs’ Association            abuses    process   by

           commandeering specific legal processes for the ulterior motive of earning profit;

           that it is unlawful to detain a person after arrest because the person cannot afford

           to pay a preset money bond without any inquiry into ability to pay or any other

           findings; and that the policy, pattern, and practice of threats to jail people for

           nonpayment without informing them of their rights or inquiring into their ability to

           pay constitutes an extortion enterprise in blatant violation of racketeering laws.

    105.   Injunctive relief compelling the Defendants to comply with these constitutional and

           statutory requirements will similarly protect each member of the Class from being

           subjected to the Defendants’ unlawful policies and practices with respect to the

           debts that they still owe and protect those who will incur such debts in the future from

           the same unconstitutional conduct. Therefore, declaratory and injunctive relief with

           respect to the Class as a whole is appropriate.

   Rule 23(b)(3)

    106.   Class treatment under Rule 23(b)(3) is also appropriate because the common

           questions of law and fact overwhelmingly predominate in this case. This case turns,

           for every named Plaintiff, as well as for the members of the Class, on what the

           Defendants’ policies and practices are and on whether those policies are lawful.

    107.   The common questions of law and fact listed above are dispositive questions in the

           case of every member of the Class.          The question of liability can therefore be

           determined on a class-wide basis. Class-wide treatment of liability is a far superior

           method of determining the content and legality of the Defendants’ policies and

           practices than individual suits by tens of thousands of indigent people owing court


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           fines. To the extent that individual damages will vary, they will vary depending in

           large part on the amount of time that a person was subjected to the unlawful scheme

           and the amount of money extorted from them. Determining damages for

           individual Class members can thus typically be handled in a ministerial fashion based

           on easily verifiable records in the Defendants’ possession. If need be, individual

           hearings on Class- member specific damages based on special circumstances and

           particular hardships endured as a result of Defendants’ extortion scheme can be held

           after Class-wide liability is determined—a method far more efficient than the

           wholesale litigation of thousands of individual lawsuits.

    108.   The Plaintiffs seek the following relief and hereby demand a jury trial in this

           cause for all matters so appropriate.

                                           Claims for Relief

                  Count One: Racketeer Influenced and Corrupt Organizations
                                            Act.
                                18 U.S.C. § 1962 (c) and (d)

    109.   The Plaintiffs incorporate by reference the allegations in paragraphs 1-95.

    110.   The Plaintiffs’ claims under the Racketeer Influenced and Corrupt Organizations

           Act, 18 U.S.C. §§ 1961–68 (“RICO”), are brought against the Aberdeen

           Enterprizes, the Sheriffs’ Assocation, and not the individual Oklahoma counties.


    111.   The Plaintiffs are “persons” with standing to sue within the meaning of 18

           U.S.C. §§ 1961(3) and 1964(c).


    112.   Defendants Aberdeen Enterprizes II and the Sheriffs’ Assocation are “RICO

           persons” within the meaning of 18 U.S.C. § 1961(3) because it is an entity


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           capable of holding a legal or beneficial interest in property.

    113.   Each of the Defendants are a “RICO person” within the meaning of 18 U.S.C. §

           1963(1) because they are capable of holding a legal or beneficial interest in

           property.

           A. The RICO Enterprise

    114.   The Sheriffs’ Association, together with Aberdeen and the other unnamed

           conspirators, constitute an association-in-fact, and therefore an enterprise within the

           meaning of 18 U.S.C. § 1961(4). This RICO Enterprise is an ongoing business

           relationship with the common purpose of maximizing the collection of court fines,

           costs, and fees by Aberdeen without consideration of the probationer’s ability to pay.

    115.   The RICO Enterprise is engaged in interstate commerce because its activities and

           transactions relating to the collection of money, and the movement of the profit

           received by Defendant Aberdeen Enterprizes II pursuant to this                  operation,

           frequently requires movement and communications across state lines. Aberdeen’s case

           managers also use the electronic communications and the United States mail to

           communicate with indigent plaintiffs, including using those means to transmit

           threats of incarceration for nonpayment.

    116.   The members of the RICO Enterprise function as a continuing unit.

    117.   The Defendants have violated 18 U.S.C. § 1962(c) because they are associated with

           an enterprise that is engaged in, or the activities of which affect, interstate

           commerce and have, directly or indirectly, conducted or participated in the conduct of

           an enterprise’s affairs through a pattern of racketeering activity.

    118.   The Defendants have violated 18 U.S.C. § 1962(d) because they have conspired with


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           each other to violate 18 U.S.C. § 1962(c).

    119.   Specifically, the Defendants conducted or participated in and conspired to conduct

           the affairs of the RICO Enterprise by engaging in the following predicate acts of

           racketeering activity under 18 U.S.C. § 1961(1):

                   a. Extortion in violation of the Hobbs Act, 18 U.S.C. § 1951;

                   b. Extortion in violation of Title 21 Oklahoma Statute § 1481;

                   c. Extortion Induced by Threats in violation of Title 21 Oklahoma Statute § 1482
                      and

                   d. Extortion in violation of the Travel Act, 18 U.S.C. § 1952.

                   B. Predicate Acts

    120.   The Plaintiffs incorporate by reference the previously described extortion

           allegations.

    121.   The Defendants have, on their own and in conspiracy with the other participants in

           the RICO Enterprise, obtained by threat the various fines and costs associated with

           criminal cases, with intent to deprive indigent persons of this money.

    122.   The Defendants, individually and in conspiracy with the other participants in the

           RICO Enterprise, threatened and continue to threaten Plaintiffs that if they do not

           agree to pay money to Aberdeen, they: (a) will have a warrant issued ( b ) will be

           arrested; (c) will face testimony by Aberdeen against them regarding non-payment,

           but without revealing the reasons for non-payment (including an inability to pay); (d)

           will be charged additional fees; and (e) will be sent to jail.

    123.   These threats are inherently wrongful because they are motivated out of a desire to

           extort, because they are premised on deception concerning the facts and in knowing

           violation of the legal rights of the victims, and because they are demanded

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           pursuant to an unlawful contract.

    124.   Because of these unlawful threats, the Plaintiffs paid the fees demanded by Aberdeen.

                          i.   Extortion in violation of the Hobbs Act, 18 U.S.C. § 1951

    125.   The Plaintiffs incorporate by reference the previously described extortion

           allegations.

    126.   The Defendants have, individually and in conspiracy with the other

           participants in the RICO Enterprise, obtained fees from Plaintiffs with their

           consent, which consent has been induced by the wrongful use of fear in

           violation of 18 U.S.C. § 1951 (Hobbs Act).

    127.   The proceeds of Defendants’ extortionate activities were used in commerce, and

           therefore affected commerce or the movement of any article or commodity in

           commerce, as these terms are understood by 18 U.S.C. § 1951(a).

   Extortion in Violation of the Travel Act

    128.   The Plaintiffs incorporate by reference the previously described extortion

           allegations.

    129.   The Defendants have, individually and in conspiracy with the other

           participants in the RICO Enterprise, obtained by threat fees from Plaintiffs, with

           intent to deprive them of this money and the enjoyment of their state and

           federal rights, in violation of 18 U.S.C. § 1952 (Travel Act) and Oklahoma law.


    130.   The Defendants have traveled in interstate commerce, and have used the mail and

           facilities in interstate commerce to distribute the proceeds of the extortionate scheme

           and to communicate with each other and with their victims concerning the operation

           of the scheme. in violation of 18 U.S.C. § 1952(a)(1). The Defendants have

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           traveled in interstate commerce, and have used the mail and facilities in interstate

           commerce to otherwise promote, manage, establish, carry on, and facilitate the

           promotion, management, establishment, or carrying on, of an extortionate scheme, in

           violation of 18 U.S.C. § 1952(a)(3).

   Pattern of Racketeering Activity

    131.   The Private Probation Defendants and the other participants in the RICO Enterprise

           have engaged in the racketeering activity described in this Complaint repeatedly since

           at least 2010 and continuing through the present with respect to thousands of

           indigent persons in Oklahoma Counties. These racketeering acts are part of the

           enterprise’s regular way of doing business.

    132.   The racketeering acts of the Defendants and the other participants in the RICO

           enterprise have a similar purpose: to maximize the collection of court fines, costs,

           and fees by Aberdeen Enterprizes II without consideration of the individual’s ability

           to pay and without informing probationers of their legal rights.

    133.   The racketeering acts of the Defendants and the other participants in the RICO

           Enterprise have yielded similar results and caused similar injuries to the Plaintiffs: the

           Plaintiffs have, inter alia, all been subjected to fees paid to Defendant Aberdeen as a

           result of their unlawful conduct. Moreover, the Plaintiffs have all also been

           subjected to threats of physical confinement and actual physical confinement as well

           as relinquishing their federal and state rights through onerous and unlawful

           conditions.

    134.   As set forth in the preceding paragraphs, the racketeering acts have similar

           participants: Aberdeen and the Sheriffs’ Association Defendants, County officials,


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           and the other participants in the RICO Enterprise.

    135.   As set forth in the preceding paragraphs, Defendants and the other participants in

           the RICO Enterprise, through the RICO Enterprise, directed their racketeering

           activities at similar victims: the named Plaintiffs specifically, and more generally all

           Oklahoma criminal defendants who were appointed counsel due to indigency, and

           whose cases were sent to Aberdeen Enterprizes for collection.

    136.   As set forth in the preceding paragraphs, the racketeering acts of Defendants and the

           other participants in the RICO Enterprise have similar methods of commission,

           namely: extorting the named Plaintiffs and, more generally, all indigent Oklahoma

           criminal defendants who cannot afford to pay their entire court debts on the date they

           are adjudicated or assigned, into paying Aberdeen Enterprizes.

               C. Injury

    137.   As a direct and proximate result of Defendants’ and the other participants in the

           RICO Enterprise’s willful, knowing, and intentional acts discussed in this

           Complaint, the Plaintiffs have suffered injuries to their property. Plaintiffs have all

           been subjected to fees and surcharges paid to Defendant Aberdeen and the Sheriffs’

           Association and they have been forced to continue paying these fees even when

           they cannot afford to do so without sacrificing the basic necessities of life, resulting in

           economic harm to themselves and their families.

    138.   The Plaintiffs are entitled to an award of damages in an amount to be determined at

           trial, including treble damages and attorneys’ fees and costs associated with this action.

   Count two: Defendants’ Use of a Private Actor With a Personal Financial Stake in the
   Outcome of Judicial Proceedings As a Supposedly Neutral Collection Agency Violates
   Plaintiffs’ Due Process Rights.


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    139.   The Plaintiffs incorporate by reference the allegations in paragraphs 1-126 above.

    140.   The Due Process Clause of the Fourteenth Amendment prohibits neutral judicial

           officials and neutral civil and criminal law enforcement actors from having a personal

           financial interest in the cases prosecuted and decided by them in our legal

           system. The County has contracted with a private, for-profit corporation to perform a

           traditional court function— fine and cost collection—and, critically, made the

           resolution   of   the    Plaintiffs’   cases   contingent   on   the   demands,   advice,

           recommendations, discretionary decisions, enforcement actions, testimony, and

           representations of this private entity.

    141.   In contrast to the traditional and longstanding role of the cost administrator, Aberdeen

           has a direct financial stake in every decision that they make regarding case

           supervision, enforcement, and revocation. Aberdeen has a personal financial interest

           to conduct its role as a court cost collector in a way that maximizes its personal

           profit and not as a neutral public court officer.

    142.   Because this non-neutral actor profits significantly from the decisions about what

           fines and costs are levied, what conditions to require, what information to provide

           indigent criminal defendants about their rights and obligations, how to enforce those

           conditions, what testimony to provide, and what sanction to recommend, there is a

           clear risk that those financial interests will affect its judgment when it makes in those

           decisions. There is also overwhelming evidence that these financial interests have and

           continue to have an impact on every decision of Aberdeen’s employees. Because this

           private entity has a significant personal financial interest in how these cases are

           managed and resolved, unlike a traditional neutral judicial actor, prosecuting


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               authority, or probation department, the Defendants’ policies and practices violate the

               longstanding      due    process     restrictions    against    such   self-interested   financial

               arrangements in American courts of justice.

    143.       Under the Defendants’ scheme, Aberdeen can not only decide whether to initiate

               warrant requests, but it can also influence what conditions are imposed.52 It can

               then make rules and determine whether and when to petition for warrants based on

               the perceived violation of those rules or other conditions. It also controls when and

               how much the indigent is required to pay, and what information is provided to or

               withheld from them concerning their legal rights. Then, Aberdeen serves as the main

               witness or, as often happens, Aberdeens’s allegations are treated as evidence at

               any Cost Hearing that will likely results in incarceration for failure to pay.

    Count Three: The Contract Between Aberdeen and the Sheriffs’ Association Is Void and
    Unenforceable Under Oklahoma Law.

    144.       The Plaintiffs incorporate by reference the allegations in paragraphs 1-131 above.

    145.       The Plaintiffs seek declaratory and injunctive relief voiding the Contract between

               Defendants Aberdeen, the Sheriff’s Association, and the Counties of Oklahoma

               contrary to Oklahoma law.

    146.       The Contract between Aberdeen and the Sheriffs’ Association, the terms and

               provisions of which are set forth above, and included as Exhibit 1, is harmful to the

               public and is in conflict with federal and state law. As set forth more fully herein, and

               incorporated by reference above, the Contract between Aberdeen and the Sheriffs’

               Association violates the U.S. Constitution, the parallel protections of the Oklahoma

               Constitution, as well as Oklahoma’s laws and judicial opinions. To take only


   52
        Warrants issued for a certain bond amount given to the County by Aberdeen.

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           several of the many examples discussed in this Complaint, the Contract

           unconstitutionally and unconscionably establishes a private actor with a personal

           financial stake in the outcome of each case as a supposedly neutral state debt

           collector mandates that particular actions be taken and particular amounts charged

           in particular judicial cases, and requires that nonpayment of costs and fees be made a

           “violation.”

    147.   The Plaintiffs are intended third-party beneficiaries to the Contract between Aberdeen

           and the Sheriffs’ Association in that the Contract specifically contemplates the

           provision of private services to residents of Oklahoma Counties served by their elected

           Sheriffs, such as the Plaintiffs. Specifically, the Contract between Aberdeen and the

           Sheriffs’ Association provides for a monopoly on cost collection services in

           Oklahoma Counties and ensures that all residents placed on Aberdeen’s client list

           (including the Plaintiffs) will be serviced by Aberdeen.

    148.   Accordingly, because the Contract between Aberdeen and the Sheriffs’ Association

           prescribes for private debt collection services to be conducted through a “user funded

           model” and in a manner inconsistent with the U.S. Constitution, the parallel

           protections of the Oklahoma Constitution, and Oklahoma’s laws and judicial

           opinions, the Plaintiffs are forced, and were specifically intended to, suffer the

           unlawful terms of the Contract.

    Count Four: Defendants’ Use of Jail, Threats of Jail, and an Onerous System to Collect
    Debts Owed to the County Violates Equal Protection Because It Imposes Unduly Harsh
    and Punitive Restrictions On Debtors Whose Creditor Is the Government Compared To
    Those Who Owe Money to Private Creditors.

    149.   Plaintiffs incorporate by reference the allegations in paragraphs 1-136 above.

    150.   The United States Supreme Court has held that, when governments seek to recoup

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           court costs from indigent defendants, they may not take advantage of their position

           to impose unduly restrictive methods of collection solely because the debt is owed to

           the government and not to a private creditor. Not only does the County place

           indigent people on standardized and overly onerous fines and costs lasting years,

           when the cases of wealthier people would be closed or unsupervised, but by imposing

           imprisonment, repeated threats of imprisonment, onerous liberty-restricting economic

           conditions, revoked or withheld drivers’ licenses, extra fees and surcharges, and

           other restrictions on Plaintiffs, the County, Aberdeen, and the Sheriffs’ Association

           take advantage of its control over the machinery of the County jail, prosecutorial,

           court, and police systems to deny debtors the statutory protections that every other

           Oklahoma debtor may invoke against a private creditor. The Defendants deprive the

           Plaintiffs of these protections even though Oklahoma law explicitly states that the

           debts owed to the Defendants are subject to Oklahoma’s law on civil judgments.

    151.   Many people like the Plaintiffs owing money to the County have to borrow

           money, ration public benefits, convert federal means tested disability checks into

           money orders for Aberdeen, and go further into debt in order to pay off the

           County because other non-government creditors are not permitted to jail them,

           threaten to jail them, or compel their repeated arrest and court appearances for

           years for non-payment of debt. This coercive policy and practice constitutes

           invidious discrimination and violates the fundamental principles of equal protection of

           the laws.

    Count Five: Defendants’ Policy and Practice of Placing People Who Owe Debts to the
    County on Onerous Probation Supervision Based Solely on Their Wealth Status
    Violates the Fourteenth Amendment.



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    152.   The Plaintiffs incorporate by reference the allegations in paragraphs 1-139 above.

    153.   The Defendants’ policy and practice is to use Aberdeen’s debt collection for

           those people who cannot afford to pay the court judgment in full. If the person can

           pay, the person pays and they are not supervised by Aberdeen. If the person is too

           poor to pay, the County and Sheriffs’ Association has a policy and practice of turning

           the debt over to Aberdeen for collection, including forcing the person to abide by

           conditions agreed upon by Aberdeen, the Sheriffs’ Association, and the County that

           seriously restrict the person’s liberty and that purport to subject the person to

           punishment in jail if those conditions (including payment of extra fees to Aberdeen)

           are violated. The same is true throughout the duration of the collection process,

           which can last for decades after the case is closed; this results in of hounding of the

           poor for years more than those who are wealthy, faced with the same charges, but able

           to pay. This policy and practice of altering punishment based solely on wealth

           status violates fundamental principles of Due Process and Equal Protection.

   Count Six: Defendants’ Policy and Practice of Issuing and Executing Arrest Warrants
   Solely Based on Nonpayment of Monetary Debts Violates the Fourth and Fourteenth
   Amendments.

    154.   Plaintiffs incorporate by reference the allegations in paragraphs 1-141 above.

    155.   The Defendants’ policy and practice is to seek, issue, and execute arrest warrants

           against those who have not paid their debt from Oklahoma criminal cases. These

           warrants are sought, issued, and served without any inquiry into the person’s ability

           to pay even when the Defendants have prior knowledge that the person is

           impoverished and unable to pay the debts or possesses other valid defenses (including

           against people who the Court itself has found indigent and who Aberdeen has actual


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           knowledge of indigence). These warrants are regularly sought, issued, and served

           without any finding of probable cause that the person has committed the elements

           of any offense or violation and, indeed, with actual knowledge that no willful violation

           has occurred. The warrants therefore are procured based on the reckless and

           knowingly false premise that a violation has occurred.           Indeed, the warrants are

           procured notwithstanding Oklahoma law that a person cannot have incarcerated for the

           nonpayment of court costs without a finding of ability to pay.

    156.   The Defendants choose to pursue warrants instead of issuing summons even when they

           have spoken to people on the phone or in person and have the opportunity to notify

           them to appear in court, thus allowing Aberdeen to deprive Plaintiffs of their liberty

           for nonpayment prior to any meaningful pre-deprivation process (and thereby to levy

           additional fees and costs). Moreover, the many of the Counties’ policies and practices

           are to unreasonably delay presentment for judicial proceedings days or weeks for no

           legitimate reason. These practices violate the Fourth and Fourteenth Amendments and

           result in a deprivation of fundamental liberty without adequate due process.

   Count Seven: Defendants Violate Plaintiffs’ Rights By Jailing Them Solely Because They
   Cannot Afford A Preset Money Payment Prior to a Court Appearance.

    157.   Plaintiffs incorporate by reference the allegations in paragraphs 1-144 above.

    158.   The Fourteenth Amendment’s due process and equal protection clauses have long

           prohibited keeping a person in jail because of the person’s inability to make a monetary

           payment. Defendants violate Plaintiffs’ rights by placing and keeping them in

           jail pursuant to arrest warrants sought and obtained by Aberdeen Enterprizes for

           allegedly failing to pay on a schedule that Aberdeen controls. Plaintiffs cannot afford to

           pay the amount of money bond preset by the arrest warrant without any inquiry into

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           their indigence and ability to pay, any pre-deprivation process, any assessment of

           alternatives to detention, or any inquiry into whether the Plaintiffs are a danger to the

           community or a risk of flight.

     Count Eight: Abuse of Process

    159.   Plaintiffs incorporate by reference the allegations in paragraphs 1-149 above.
    160.   The Defendants abused the legal process to seek arrest warrants with an ulterior

           motive to collect additional fees.

    161.   When indigent plaintiffs are unable to pay what Aberdeen demands, Aberdeen

           alerts the Court and secures warrants for the arrest of indigent person. Moreover,

           Aberdeen. then participates through written documents, testimony, and informal ex

           parte conversations with County prosecutors and judges to secure warrants.

           Aberdeen engages in all of these activities with the ulterior motive of securing the

           additional court costs and fees that come as a matter of County policy and practice

           with each failure to pay. Aberdeen also engages in an abuse of process throughout

           its cost collection by using the order to collect not to do justice and assist indigent

           plaintiffs, but for the ulterior motive of making profit by setting fees and using the

           threat of incarceration for non-payment order to extort money.

                                            Request for Relief

           WHEREFORE, the Plaintiffs demand a jury trial for all issues so appropriate and

    request that this Court issue the following relief:

       a. A declaratory judgment that subjecting the Plaintiffs to the Defendants’ conduct as
          alleged in the Counts listed above is unlawful;
       b. An order and judgment preliminarily and permanently enjoining the Defendants
          from enforcing the above-described unconstitutional and illegal policies and practices
          against the Plaintiffs and the Class of similarly situated people on whose behalf they
          are bringing suit;
       c. A judgment compensating the Plaintiffs and the Class of similarly situated individuals

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           for the damages that they suffered as a result of the Defendants’ unconstitutional and
           unlawful conduct;
       d. A judgment granting the treble and punitive damages authorized by statute based on
           the Defendants’ willful and egregious violations of the law;
   e.      An order and judgment granting reasonable attorneys’ fees and costs pursuant to
   42 U.S.C. § 1988 and 18 U.S.C. § 1964, and any other relief this Court deems just and
   proper.

                                              Respectfully,

                                              /s/ Daniel E. Smolen
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                                              Respectfully,

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